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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION
ALLIANCE LAUNDRY SYSTEMS LLC,

           Plaintiff,
                                                 Case No. 23-cv-22130 (MCR)
     v.
TRUDY ADAMS, JOHN “CLAY” WILLIAMS
and AUTARKIC HOLDINGS, INC. D/B/A
LAUNDRYLUX,
           Defendants.


TRUDY ADAMS, JOHN “CLAY” WILLIAMS,
           Defendants/Counterclaim Plaintiffs,
     v.
ALLIANCE LAUNDRY SYSTEMS LLC,

           Plaintiff/Counterclaim Defendant/
           Third Party Defendant,

     and
MIKE HAND, SAMANTHA BAKER and
GREG REESE,
           Third-Party Defendants.



                LAUNDRYLUX’S OPPOSITION TO
          ALLIANCE’S MOTION FOR SUMMARY JUDGMENT
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                                INTRODUCTION

      Alliance has conceded defeat. It admits that summary judgment is required

where the plaintiff—Alliance here—“fails to present evidence justifying any amount

on a claim for economic damages.” Dkt.168 at 21–22.

      Under that standard, Alliance loses. As Laundrylux explained in its motion

for summary judgment (“MSJ”), Alliance has not presented any evidence of

damages. Dkt.157 at 9–14. It did not provide the “computation of damages” required

by Rule 26(a); it refused to provide a damages calculation in response to

interrogatories; it failed to provide evidence of damages via its 30(b)(6)

representative or any other witness; and it never retained a damages expert. There is

thus no basis—none—for awarding damages on Alliance’s claims. That should be

the end of Alliance’s suit.

      Alliance’s claims fail for additional reasons as well. Its trade-secret

misappropriation claims fail because, among other things, no reasonable jury could

find that Alliance properly protected the information it now claims was “secret.”1

And its tortious-interference claim fails because, among other things, Alliance has

not identified a single transaction that would have been completed but for

Laundrylux’s supposed interference.



     This opposition incorporates the Statement of Facts and Legal Standard for
      1

Summary Judgment set forth in Laundrylux’s MSJ. Dkt.157 at 3–7, 8–9.
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        Alliance has doomed its own case. By failing to provide either a computation

of damages or any supporting evidence, Alliance has foreclosed the possibility of

monetary recovery. By failing to protect its information, Alliance has forfeited any

claim to trade secrecy. And by failing to introduce evidence of any relationship in

which it had actionable legal rights, Alliance has fatally undermined its tortious-

interference claim. Laundrylux is entitled to summary judgment—not Alliance.

                                   ARGUMENT
I.      Alliance cannot recover damages on any of its claims.
        Alliance brings three claims against Laundrylux: (1) trade-secret

misappropriation under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836;

(2) trade-secret misappropriation under Florida Uniform Trade Secrets Act

(“FUTSA”), Fla. Stat. §§ 688.001–009; and (3) tortious interference. Dkt.98 at 13–

19, 21–22.

        Each cause of action naturally requires, as a prerequisite for monetary

damages, proof of damages. In Alphamed Pharmaceuticals Corp. v. Arriva

Pharmaceuticals, Inc., 432 F. Supp. 2d 1319 (S.D. Fla. 2006), aff’d, 294 F. App’x

501 (11th Cir. 2008), for example, the court granted judgment as a matter of law on

a FUTSA claim where plaintiff “presented no evidence by which the jury could value

its damages relating to misappropriation of trade secrets.” Id. at 1339. Examining

the statute and relevant case law, the court concluded that “a claim for damages



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under the FUTSA requires proof of damages.” Id. at 1337. A request for nominal

damages is insufficient; the statute requires proof of actual loss, unjust enrichment,

or the value of a reasonable royalty. Id. at 1335–36. The DTSA likewise requires, as

a prerequisite damages, proof of actual loss, unjust enrichment, or the value of a

reasonable royalty. 18 U.S.C. § 1836(b)(3)(B). And proof of damage is one of the

four elements of a tortious-interference claim. See Ethan Allen, Inc. v. Georgetown

Manor, Inc., 647 So. 2d 812, 814 (Fla. 1994).

      Because Alliance proffers no damages evidence, Laundrylux is entitled to

summary judgment on all of Alliance’s claims for monetary relief.

      A.     Alliance has conceded that its failure to prove damages forecloses
             any monetary recovery.
      As Laundrylux explained in its MSJ, Alliance has provided neither a

computation of damages nor evidence upon which a damages award could be based.

Dkt.157 at 9–14. Alliance refused to submit the “computation of damages” required

by Rule 26(a); refused to provide a computation of damages in response to

Laundrylux’s interrogatory requesting that information; and refused to answer a

similar interrogatory propounded by Adams. Id. Nor did Alliance provide damages

evidence in any other form: not in a declaration, not in the testimony of its 30(b)(6)

representative, not in the testimony of any other witness, and not via an expert report.

Id. at 13–14. There are thus “[n]o calculations, no mathematical formulas, no

methods of computation, nor even any underlying factual basis for the damages”


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Alliance seeks. In re Seven Stars on Hudson Corp., 637 B.R. 180, 194 (Bankr. S.D.

Fla. 2022), aff'd sub nom. In re Seven Stars on the Hudson Corp., 2023 WL 4760713

(11th Cir. July 26, 2023).

      This failure of proof precludes Alliance from recovering monetary damages.

Id. at 211. “Under Florida law, a plaintiff has the burden to present evidence

justifying a specific and definite amount of economic damages.” Id. at 202 (cleaned

up). “If the finder of fact is not presented with evidence that will enable it to

determine damages with a reasonable degree of certainty, rather than by means of

speculation and conjecture, then the plaintiff cannot recover those damages.” Id. at

202–03 (cleaned up). “Thus, for any claim as to which a plaintiff fails to present

evidence justifying any amount on a claim for economic damages, the defendant will

be entitled to judgment in its favor on that claim.” Id. at 203; see also Sun Life

Assurance Co. of Canada v. Imperial Premium Fin., LLC, 904 F.3d 1197, 1222 (11th

Cir. 2018) (same).

      Alliance agrees. In moving for summary judgment on the counterclaims

brought by Adams and Williams (collectively, the “Salespeople”), Alliance admits

that the failure to prove damages precludes any claim for monetary relief:

      “Economic damages may not be founded on [mere] speculation or
      guesswork and must rest on some reasonable factual basis.” Thus, when
      a plaintiff fails to present evidence justifying any amount on a claim for
      economic damages, summary judgment is appropriate. It is not the
      responsibility of the party against which the claims of breach are lodged
      to guess at the other’s damages. Where the complaining party fails to

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      disclose damages calculations prior the close of discovery they force
      the defendant—and the court—to speculate about the amount of
      damages.

Dkt.168 at 21–22 (internal citations omitted).

      Those are Alliance’s own words. Alliance goes on to say that the Salespeople

had “an obligation to properly articulate their damages”; that “neither Williams nor

Adams provide[d] dollar figures that would allow this Court to award damages to

either”; that it is not enough to say “that there would be damages if Adams or

Williams had more information”; and that summary judgment is required because

“Adams and Williams have failed to provide any basis for a specific amount of

damages.” Id. at 22–24.

      What is good for the goose is good for the gander. Changing only the subject

of each sentence above: Alliance had “an obligation to properly articulate [its]

damages”; Alliance failed to provide “dollar figures that would allow this Court to

award damages”; it is not enough to say “that there would be damages if [Alliance]

had more information”; and summary judgment is required because Alliance “failed

to provide any basis for a specific amount of damages.” Id. at 22–24.

      Enough said. Laundrylux is entitled to summary judgment on all of Alliance’s

claims for monetary damages.

      B.     Alliance is not entitled to prove damages in an “evidentiary
             hearing” after trial.

      In a last-ditch effort to escape the hole it has dug for itself, Alliance suggests


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it should be allowed to prove damages via some sort of “evidentiary hearing,”

apparently after trial:

       The extent of the damages incurred by Alliance, including the
       allocation of punitive and exemplary damages, should be determined at
       an evidentiary hearing after the Court rules on Alliance’s Motion for
       Summary Judgment. See e.g. Rustik Haws, LLC v. Identiqa Sols. Co.,
       No. 8:21-CV-00565-MSS-AEP, 2025 WL 470225, at *4 (M.D. Fla.
       Feb. 12, 2025) (setting a damages award “via a hearing” once the
       necessary facts were established to prove liability); Perdue, 777 So. 2d
       at 1050 (awarding trade secret misappropriation damages “[i]n posttrial
       proceedings”)

Dkt.167 at 41.

       The two cases Alliance cites for this outlandish theory are entirely inapposite.

The first case, Rustik Haws, LLC v. Identiqa Sols. Co., involved a default judgment,

which are governed by special rules. Rule 55—titled “Default; Default Judgment”—

provides that when a defendant “has failed to plead or otherwise defend,” the clerk

“must enter the [defendant’s] default.” Fed. R. Civ. P. 55(a). “If the plaintiff's claim

is for a sum certain or a sum that can be made certain by computation, the clerk—

on the plaintiff’s request, with an affidavit showing the amount due—must enter

judgment for that amount …” Fed. R. Civ. P. 55(b)(1). “In all other cases, the party

must apply to the court for a default judgment.” Fed. R. Civ. P. 55(b)(2). “The court

may conduct hearings or make referrals … when, to enter or effectuate judgment, it

needs to: (A) conduct an accounting; (B) determine the amount of damages; (C)

establish the truth of any allegation by evidence; or (D) investigate any other matter.”



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Id.

      Rule 55 thus contemplates the possibility of a hearing to determine damages

in the context of a default judgment, where the defendant has not participated in

litigation or discovery. That’s what happened in the Rustik case. See Rustik, 2025

WL 470225, at *15. But Rule 55 obviously doesn’t apply here, so Rustik provides

no support for Alliance’s position.

      The second case, Perdue Farms Inc. v. Hook, 777 So. 2d 1047 (Fla. Dist. Ct.

App. 2001), involved exemplary damages under the FUTSA. Id. at 1050. The

FUTSA provides that “[i]f willful and malicious misappropriation exists, the court

may award exemplary damages in an amount not exceeding twice any award” of

compensatory damages. Fla. Stat. Ann. § 688.004(2) (emphasis added). The statute

thus “[takes] from the jury the issue of exemplary damages” and gives it to the court,

which may award exemplary damages after the jury awards compensatory damages.

Perdue, 777 So. 2d at 1052. But we are not at that stage—and never will be—

because Alliance has not mustered the evidence required to submit its claims to the

jury in the first place. With no basis for a jury to award compensatory damages, the

court cannot award exemplary damages via the statutory post-trial procedure. And

the FUTSA certainly does not permit a plaintiff to prove compensatory damages

during a post-trial proceeding; those must be substantiated with evidence during

discovery and found by a jury in the normal course. Perdue thus provides no support



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for Alliance’s position either.

      Indeed, Alliance’s invocation of Rustik and Perdue underscores the weakness

of its position. Having produced neither a computation of damages nor evidence of

damages, and without any authority that would excuse its failure to do so, Alliance

resorts to cases that obviously have no bearing here. Neither Rustik nor Perdue says

that a plaintiff can ignore the Federal Rules of Civil Procedure, refuse to comply

with its discovery obligations, and fail to produce a single scrap of evidence on

damages—only to somehow get a mulligan in an “evidentiary hearing” after trial.

No other authority says that either. Alliance’s campaign for damages is over.

      C.     Alliance is not entitled to injunctive relief either.
      In one unexplained part of one sentence, Alliance claims it is “entitled to

equitable relief” on its trade-secrets claims. Dkt.167 at 41. But Alliance makes no

argument for such relief—it simply asserts that it is “entitled” to it. While this failure

likely results in an abandonment of the remedy, see Pizarro v. Home Depot, Inc.,

111 F.4th 1165, 1182 (11th Cir. 2024) (plaintiffs forfeited claim for equitable relief

by making only a “perfunctory reference” to it), cert. petition docketed, No. 24-620

(U.S. Dec. 6, 2024), it at least bars an award of injunctive relief on summary

judgment.

      Permanent injunctive relief requires “(1) success on the merits; (2) continuing

irreparable injury; and (3) no adequate remedy at law.” Keener v. Convergys Corp.,



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342 F.3d 1264, 1269 (11th Cir. 2003). Moreover, any injunction would have to

“describe the restrained acts in reasonable detail”; be “narrowly tailed” to “proven

legal violations” involving “specific, identifiable trade secrets”; be limited in time

and geographic scope; and allow for legitimate competition. Fin. Info. Techs., LLC

v. iControl Sys., USA, LLC, 21 F.4th 1267, 1280–81 (11th Cir. 2021); see also, e.g.,

Norton v. Am. LED Tech., Inc., 245 So. 3d 968, 969 (Fla. Dist. Ct. App. 2018) (the

FUTSA “may not be used as a vehicle to restrict competition”); Thomas v. Alloy

Fasteners, Inc., 664 So. 2d 59, 60 (Fla. Dist. Ct. App. 1995) (striking provision that

prohibited former employee from contacting old customers and collecting similar

cases).

      Alliance does not even address the standard for injunctive relief, much less

attempt to show that it would be satisfied here. Nor does it address any of the critical

questions that would have to be answered to craft an appropriate order. Alliance’s

near total inattention to this issue shows how little it cares about injunctive relief.

Clearly Alliance’s suit is about damages, which it cannot recover because it has

presented no damages evidence.

      Regardless, Alliance is not entitled to injunctive relief because it has not

shown that Laundrylux misappropriated any information that meets the legal

definition of a trade secret or that it is engaged in any ongoing conduct whatsoever

for which injunctive relief would be appropriate. See infra at 10–26; see also



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Dkt.157 at 14–32. Alliance failed to move for a temporary restraining order or a

preliminary injunction at the beginning of this case, which it could have if it

genuinely believed it was experiencing ongoing injury. Alliance’s throw-away

reference to “equitable relief” is meaningless and comes nowhere close to justifying

injunctive relief.

II.   Alliance has failed to prove trade-secret misappropriation.

      Alliance moves for summary judgment on its trade-secrets claims, but its

motion only underscores why summary judgment must be granted in favor of

Laundrylux. Alliance has not met its “burden of demonstrating both that the specific

information it seeks to protect is secret and that it has taken reasonable steps to

protect this secrecy.” M.C. Dean, Inc. v. City of Miami Beach, 199 F. Supp. 3d 1349,

1353 (S.D. Fla. 2016) (citation omitted). Nor has it introduced evidence showing

Laundrylux knew or should have known the information was improperly obtained.

      A.     Alliance has failed to prove a “trade secret.”
      No category of information Alliance claims to be an actionable trade secret

qualifies as such for the reasons explained in Laundrylux’s MSJ (Dkt.157 at 14–29)

and the additional reasons set forth below.

                     1)   New categories of documents/information
      For the first time in this litigation, Alliance claims in its MSJ that Laundrylux

misappropriated



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Dkt.167 at 20–21.

      Alliance cannot assert those categories of information as purported trade

secrets because—continuing a theme—Alliance did not disclose them in response to

Laundrylux’s interrogatory asking Alliance to “[i]dentify, with specificity, which

‘Alliance Confidential Information’ is ‘protected as trade secret information.’”

Ex.49 (Interrogatory 8). 2 Alliance answered that interrogatory by listing only the

categories of information discussed in Laundrylux’s MSJ. Id.

      Alliance cannot now introduce other categories of information it never

mentioned before. Rule 26(e) requires a party “who has responded to an

interrogatory” to “supplement or correct” its response “in a timely manner if the

party learns that in some material respect the … response is incomplete or incorrect.”

Fed. R. Civ. P. 26(e). And Rule 37(c) provides that if a party fails to provide

information required by Rule 26(e), “the party is not allowed to use that information

… to supply evidence on a motion, at a hearing, or at a trial, unless the failure was

substantially justified or is harmless.” Fed. R. Civ. P. 37(c).

      Rules 26(e) and 37(c) together require exclusion of the new categories



      2
        All record evidence is concurrently filed with the Declaration of David
Perez in Opposition to Alliance's Motion for Summary Judgment.

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referenced for the first time in Alliance’s MSJ. Courts routinely exclude evidence

omitted from interrogatory responses under those rules. As in those cases, exclusion

is required here because (1) Alliance has no justification for failing to correct its

interrogatories, and (2) Laundrylux would be prejudiced by the admission of

evidence it had no opportunity to explore in discovery. 3

      Exclusion is also required because the documents Alliances cites as evidence

for the new categories are—with one exception4—emails sent by former Alliance

employee Jason Fleck in 2022. See Dkt.163 (“Stein Decl.”) ¶¶7(f), (h)–(j). To the

extent Alliance is attempting to belatedly allege that Fleck misappropriated trade

secrets in 2022, Alliance did not make those allegations in its operative complaint.



      3
         See, e.g., Goodman-Gable-Gould Co. v. Tiara Condo. Ass’n, Inc., 595 F.3d
1203, 1210–13 (11th Cir. 2010) (affirming exclusion of evidence under Rule 37
where party failed to timely supplement interrogatories); MLC Intell. Prop., LLC v.
Micron Tech., Inc., 10 F.4th 1358, 1372 (Fed. Cir. 2021) (affirming exclusion of
evidence under Rule 37 and observing that “Rule 26(e) expressly requires that as
theories mature and as the relevance of various items of evidence changes, responses
to interrogatories, and particularly contention interrogatories, must be corrected or
supplemented to reflect those changes”); MicroStrategy Inc. v. Bus. Objects, S.A.,
429 F.3d 1344, 1356–58 (Fed. Cir. 2005) (excluding non-expert damages theories
for failure to supplement interrogatories); Soderbeck v. Burnett County, 821 F.2d
446, 453 (7th Cir. 1987) (“[T]he court may prohibit [a] party from introducing into
evidence matters that were requested but not disclosed in [response to]
interrogatories.”).
      4
        The exception is an email chain Adams forwarded to her personal email
regarding financing for a customer. See Stein Decl. Ex.6. That email chain is
irrelevant because Alliance has not shown that it was sent to anyone at Laundrylux
or at Laundrylux’s direction.


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Alliance alleged that the Salespeople took trade-secret information to Laundrylux in

2023, not that Fleck did so in 2022. Alliance “may not amend [its] complaint through

argument” in summary-judgment briefing. Gilmour v. Gates, McDonald & Co., 382

F.3d 1312, 1315 (11th Cir. 2004); see also Hurlbert v. St. Mary’s Health Care Sys.,

Inc., 439 F.3d 1286, 1297 (11th Cir. 2006) (holding that Gilmour applies both to

new claims and to new facts that provide additional bases for existing claims).5

      Regardless, Alliance has not met its burden of showing that any of the new

categories of information were both secret and adequately protected. Consider the

                            for example. Stein Decl. Ex.9. The document is not

marked confidential and was prepared for customers, who could presumably share

it with whomever they liked. Cf. Ex.4 48:24–49:14. Moreover, Alliance has not said

what measures, if any, it took to keep                             secret. Those same

types of arguments apply to the other undisclosed categories that Alliance should be

barred from citing as evidence for its claims.

                    2)    Documents disclosed without restrictions

      Demographic reports, photos of customer equipment (including voltage


      5
         The only even arguable allusion to the new Fleck claim is the allegation, in
the background section of the Amended Complaint, that before this suit was filed,
“Laundrylux actively recruited and hired former Alliance employees” who “also
used Alliance’s confidential, proprietary, and trade secret information.” AC ¶54. But
Alliance does not allege who those employees were or what they took. Alliance thus
failed to provide sufficient notice of a claim based on Fleck’s alleged taking of trade
secrets. S. Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1243 (11th Cir. 2009).

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requirements), floor plans/drawings, and customer quotes are not trade secrets as

matter of law for two reasons.

      First, it is undisputed that those documents were shared with customers

without restrictions. See Dkt.157 at 16–18, 20–24. That is dispositive: “[i]f an

individual discloses his trade secret to others who are under no obligation to protect

the confidentiality of the information,” his “property right” in the trade secret

“extinguished.” Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1002 (1984); see also

M.C. Dean, Inc., 199 F. Supp. 3d at 1353 (same); Sw. Stainless, LP v. Sappington,

582 F.3d 1176, 1190 (10th Cir. 2009) (holding price list was not a trade secret despite

employee’s execution of confidentiality agreement where competitor could acquire

the information simply by requesting it from a customer); Hennegan Co. v. Arriola,

855 F. Supp. 2d 1354, 1360 (S.D. Fla. 2012) (rejecting trade-secret claim where

company “provided [salesperson] with the pricing information and permitted him to

share that information with potential customers without requiring those customers

to refrain from disclosing the pricing information to others”).

      Alliance argues that “



                           .” Dkt.167 at 33. But we are not dealing with “

              ” here. Alliance disclosed the information to customers with no

restrictions whatsoever. The customers could, and did, share it with whomever they



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pleased.

      Courts have made clear that there is a critical difference between “

              ” to particular people for particular purposes and disclosure to people

who are “under no obligation to protect the confidentiality of the information.”

Ruckelshaus, 467 U.S. at 1002. Alliance cites WWMAP, LLC v. Birth Your Way

Midwifery, 711 F. Supp. 3d 1313 (N.D. Fla. 2024), which observes that a business

might need to share its customer lists with members of its own “sales or marketing

departments,” and that a “a manufacturer might need to share blueprints or

schematics with a subcontractor who will provide components of a machine.” Id. at

1322 n.2. But the implication is that the dissemination will stop there. That

implication is made explicit in two cases WWMAP cites: Rockwell Graphic Sys., Inc.

v. DEV Indus., Inc., 925 F.2d 174 (7th Cir. 1991) (Posner, J.), and United States v.

Lange, 312 F.3d 263 (7th Cir. 2002) (Easterbrook, J.).

      In Rockwell, a company gave “piece part drawings” to vendors to manufacture

parts. 925 F.2d at 175. The Seventh Circuit held that “[t]he mere fact that [the

company] gave piece part drawings to vendors—that is, disclosed its trade secrets to

‘a limited number of outsiders for a particular purpose’—did not forfeit trade secret

protection” where the vendors were “required to sign confidentiality agreements,

and in addition each drawing [was] stamped with a legend stating that it contains

proprietary material.” Id. at 177. By contrast, if the company “had given the piece



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part drawings at issue to customers, and it had done so without requiring the

customers to hold them in confidence,” the company would have forfeited its trade-

secret claim. Id. at 179 (emphasis added). That is exactly what happened here.

      Lange, 312 F.3d 263, is similar. There, a manufacturer of airplane parts kept

its schematics in a “CAD” room protected by a special lock, an alarm system, and a

motion detector; marked the schematics confidential; and warned every employee

that the schematics were confidential. Id. at 266. None of the manufacturer’s

“subcontractors receive[ed] full copies of the schematics; by dividing the work

among vendors, [the manufacturer] ensure[d] that none [could] replicate the

product.” Id. Under those circumstances, the Seventh Circuit held that the

manufacturer had not lost trade-secret protection simply because employees “knew

where to get the key to the CAD room door” and subcontractors had received partial

schematics; that sort of limited dissemination on a need-to-know basis does not

undermine a trade-secret claim.

      The disclosures here—to customers who had no obligation to keep the

information secret—are like those in Ruckelshaus and its progeny, not like those in

Rockwell and Lange.

      Second, Alliance did precious little to keep the information secret. While

Alliance claims it had various “policies” on confidential information (Dkt.167 at 23),

it appears the Salespeople signed only one such “policy”: the Employee Handbook.



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customer quotes, which entitles Laundrylux to summary judgment. At a minimum,

factual disputes about Alliance’s policies and trainings preclude summary judgment

for Alliance.

                   3)       Price Sheets
      Alliance cannot base its trade-secrets claims on price sheets because there is

no evidence that the Salespeople took price sheets to Laundrylux. Alliance cites an

exhibit suggesting that Adams emailed Alliance price sheets to her personal email

in March 2023—weeks before she started working for Laundrylux. Stein Ex.4. But

Alliance has produced no evidence showing that Adams forwarded the price sheets

to herself or anyone else at Laundrylux after she began working there. Nor has it

cited any other evidence showing that Laundrylux obtained price sheets improperly.8

Price sheets are therefore not at issue, and the Court need go no further.

      Even if price lists were at issue, however, they do not qualify as “trade

secrets.” Alliance observes that price sheets—unlike the other categories of

information discussed above—are marked “confidential” and given to third-party

distributors pursuant to agreements with confidentiality provisions. Dkt.167 at 30.

But while Trey Stein’s Declaration purports to attach a

                        , Stein Ex.12, Stein


      8
         Alliance cites an email suggesting that Jason Fleck “received” price sheets
in early 2023, but there is no indication how he “received” them. Dkt.167 at 30–31.


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           . Ex.E 45:25–46:18, 233:5–23. It is Alliance’s burden to prove that it

actually required all of its distributors to keep price sheets confidential; having failed

to carry that burden, its MSJ must be denied at a minimum.

       Moreover, Laundrylux is entitled to summary judgment because it is

undisputed that Alliance disseminated price sheets to subdealers without

confidentiality agreements. Ex.1 206–13; Ex.27. And price sheets are generally “out

in the marketplace,”

           . Ex.3 202, 244; Ex.2 231:8–19; Ex.27; Dkt.157 at 19–20. Indeed,

Alliance representatives—including CEO Mike Schoeb—have received and

performed competitive analyses on price sheets from competitors, including

Laundrylux. See Ex.6 70:9–71:25; Ex.2 63–64, 66:3–20, 147:21–25, 231; Ex.4

131:6–8; Ex.28; Ex.29. Alliance has therefore failed to carry its burden of showing

that price lists were truly secret.

                     4)     Financial Data

       To support its allegation about financial data, Alliance cites

                                                       . See Stein Decl. Ex.7. Alliance

has not explained what this heretofore unproduced image represents, how Williams

supposedly obtained the spreadsheet, or what he did with it—much less connected

the spreadsheet to Laundrylux. This unexplained screenshot, devoid of any context



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or provenance, cannot substantiate any trade-secret claim against Laundrylux.

                   5)     Customer Lists

      Alliance has not carried its burden with respect to customer lists. Alliance’s

MSJ makes no effort to show which customer contacts were generated by Alliance

and which by the Salespeople. There can be no doubt that at least some of the

contacts were generated by the Salespeople; Adams, for example, had compiled an

extensive list of contacts before working at Alliance. E.g., Dkt.157 at 25. But

Alliance does not even try to separate those out.

      Moreover, Alliance’s MSJ confirms that the lists at issue contain only basic

contact information—i.e., names, addresses, and emails. That sort of information

can be compiled through Google or purchased through third-party services. As

Laundrylux explained in its MSJ (Dkt.157 at 26–27), courts routinely refuse to find

protectable trade-secret rights in lists which, as here, simply compile easily

ascertainable information. E.g., Templeton v. Creative Loafing Tampa, Inc., 552 So.

2d 288, 289–90 (Fla. Dist. Ct. App. 1989) (collecting cases); Pals Grp., Inc. v.

Quiskeya Trading Corp., 2017 WL 532299, at *5 (S.D. Fla. Feb. 9, 2017).

      Further, Alliance’s efforts to maintain the purported “secrecy” of its customer

lists were insufficient as a matter of law for the reasons explained in Laundrylux’s

MSJ. To reiterate a few key points, the Employee Handbook contains only a generic

confidentiality policy that



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                                         . Dkt.157 at 27.



                                 . Moreover, Alliance’s 30(b)(6) representative

admitted that



         . See Ex.E 79–83.

      The analogous precedent, therefore, is Yellowfin, 898 F.3d 1279. There, as

here, the company “compromised the efficacy” of measures like password-

protection and limited access by “effectively abandon[ing]” oversight over the

information. Id. at 1300–01. In Yellowfin the company allowed the employee to keep

customer information on his personal devices, just as Alliance allowed the

Salespeople to export customer lists out of databases. Id. Fleck and Williams

testified that Alliance allowed salespeople to conduct company business with

company materials on their personal devises, which at minimum creates a factual

dispute precluding summary judgment for Alliance. Ex.G 74:24–76:18; Ex.H

218:25–219:21.

      A case Yellowfin cites—Diamond Power Int’l, Inc. v. Davidson, 540 F. Supp.

2d 1322 (N.D. Ga. 2007)—is similar. The court there held that the company’s

security measures were insufficient to protect a “Hardware book file” under Georgia

trade-secret law, which parallels the FUTSA, where company “failed to introduce



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any evidence that it (1) labeled the file confidential or otherwise communicated the

confidentiality of the Hardware Book file directly to its employees, (2) directed its

employees to maintain the secrecy of the file (other than through a general

confidentiality agreement which did not expressly mention the Hardware book file),

or (3) tracked or otherwise regulated the use of its Hardware Book file.” Id. at 1335.

      The cases Alliance cites in its MSJ, by contrast, are inapposite because they

involve more robust security measures actually maintained and enforced by the

company claiming trade-secret protection. In VAS Aero Services, LLC v. Arroyo, 860

F. Supp. 2d 1349 (S.D. Fla. 2012), an aircraft-part company (VAS) protected its

contractual agreements with Boeing, which included non-disclosure provisions, by

“(1) installing multi-tiered password protections; (2) limiting access to the Kent

Facility [shared by VAS and Boeing] to individuals who obtained a security

clearance; (3) only permitting a few key employees access to these documents; (4)

only permitting access to the databases through VAS’s intranet or through its VPN;

(5) requiring individuals to have badges to enter the Kent Facility; and (6) mandating

key employees who are authorized to view the VAS–Boeing Agreements to choose

complex passwords, and, change those passwords every ninety (90) days.” Id. at

1359. That is far beyond what was done here.

      Alliance’s other cases are similar, and some also involve non-compete

agreements. See Freedom Med., Inc. v. Sewpersaud, 469 F. Supp. 3d 1269, 1275



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(M.D. Fla. 2020) (non-competition agreement), order clarified, 2020 WL 3487642

(M.D. Fla. June 25, 2020); Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Hagerty,

808 F. Supp. 1555, 1558 (S.D. Fla. 1992) (non-solicitation agreement), aff'd sub

nom. Merrill Lynch, Pierce v. Hegarty, 2 F.3d 405 (11th Cir. 1993). In no case were

security measures as lax as they were at Alliance. Cf. Dkt.167 at 28–29.

      Alliance has thus failed to carry its burden of proving an actionable trade

secret, which means that Laundrylux (not Alliance) is entitled to summary judgment.

      B.     Alliance has failed to prove misappropriation.
      Even if Alliance could prove that some category of information qualifies as a

trade secret, it cannot show that Laundrylux—as opposed to the Salespeople—

misappropriated anything. Alliance’s argument on the misappropriation element,

which is only two paragraphs long, focuses almost exclusively on the Salespeople.

Dkt.167 at 38–39. Alliance mentions Laundrylux only in the following conclusory

sentence: “[The Salespeople] used the purloined information to unfairly compete

with Alliance and for the benefit, and with the knowledge and encouragement, of

Laundrylux in violation of their contractual and legal obligations not to do so.” Id.

at 39. To support that allegation, Alliance cites only its Amended Complaint without

a pincite. Id. Laundrylux has already explained why nothing in the Amended

Complaint shows that Laundrylux knew or should have known that it had acquired

trade secrets that were improperly obtained. Dkt.157 at 29–31.



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       Searching the rest of Alliance’s brief, Alliance points to (1)

                                                                              , Dkt.167

at 12; (2)

                                       , id. at 16; and (3)



                                                                   , id. at 19–20. The

email chains are immaterial because they do not involve trade secrets; a quote shared

with a customer without restrictions is not a trade secret, and the identity of a single

potential customer isn’t either. See supra at 13–18. New allegations about Fleck and

others are also immaterial because Alliance cannot add new allegations that aren’t

in its Amended Complaint. See supra at 10–13.9 Alliance has therefore failed to

show misappropriation with respect to Laundrylux.

       At the very least, Alliance’s MSJ must be denied because Laundrylux

representatives have testified that they did not know and had no reason to know that

the information at issue was supposedly obtained improperly. E.g., Ex.I 149:4–12,


       9
         The new allegations are also inconsistent with the record evidence. Each
deposed former Alliance employee has testified that Laundrylux never asked them
to bring confidential information to Laundrylux. Ex.8 47:13–25; Ex.9 50:1–52:7;
Ex.11 136:16–25. Additionally, contrary to Alliance’s assertions, Fleck testified that
he used his personal laptop at Alliance, was never instructed to return it, and deleted
all Alliance-related information from it. Ex.H 37:15–21. Pollesch testified that she
regularly used Salesforce for her job responsibilities, not just in the week before her
departure. Ex.K 60:18–61:21. At minimum, there are question of fact precluding
summary judgment for Laundrylux.

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167:12–168:2 (“I’m not aware of that, nor would we need that…I would never ask

an employee to [contact Williams and ask for any customers that he was working

with from Alliance].”); Ex.10 65:12–24; Ex.J 263:18–264:11, 304:9–14.

      C.     Alliance cannot recover exemplary damages.
      At a minimum, Alliance cannot possibly recover exemplary damages from

Laundrylux. Alliance’s argument on exemplary damages focuses exclusively on the

Salespeople. Dkt.167 at 40. Alliance never mentions Laundrylux, and for good

reason: at worst, Laundrylux passively received trade secrets freely given to it. Such

conduct does not come anywhere close to the level of egregiousness required for

exemplary damages.

      “Exemplary damages are given solely as a punishment where torts are

committed with fraud, actual malice, or deliberate violence or oppression, or when

the defendant acts willfully, or with such gross negligence as to indicate a wanton

disregard of the rights of others.” Perdue Farms Inc., 777 So. 2d at 1053. “In

negligence, the degree of conduct required to sustain an award of such damages has

been characterized as conduct necessary to sustain a conviction for manslaughter.”

Id. “In contract, exemplary damages are not recoverable unless the defendant's

conduct constituting the breach of contract rises to the level of an independent tort

showing actual malice, moral turpitude, wantonness or outrageousness.” Id. Under

no interpretation of the evidence does Laundrylux’s conduct rise to that level of



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egregiousness.

III.   Alliance’s FUTSA claim preempts its tortious-interference claim.

       In a March 18, 2025 order, the Court said it would consider, on the now-fully-

developed record, Laundrylux’s argument that Alliance’s FUTSA claim preempts

its tortious-interference claim. Dkt.170 at 6–7. Laundrylux accordingly presents that

argument here.

       The FUTSA expressly displaces “conflicting tort, restitutory, and other law of

this state providing civil remedies for misappropriation of a trade secret.” Fla. Stat.

§ 688.008(1). FUTSA preemption applies to “all non-contract claims based on the

misappropriation of confidential and/or commercially valuable information even if

the information does not constitute a trade secret.” See Am. Registry, LLC v. Hanaw,

2014 WL 12606501, at *6 (M.D. Fla. July 16, 2014). Thus, “[i]n order to pursue

claims for additional tort causes of action where there are claims for

misappropriation of a trade secret, there must be material distinctions between the

allegations comprising the additional torts and the allegations supporting the FUTSA

claim.” New Lenox Indus., Inc. v. Fenton, 510 F. Supp. 2d 893, 908 (M.D. Fla. 2007).

       Here, Alliance’s FUTSA claim preempts its tortious-interference claim

because there are no material distinctions between them. Both turn on allegations

that the Salespeople took supposedly confidential information from Alliance and

used it to generate business for Laundrylux. Alliance alleges, for example, that



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Laundrylux’s purported “interference includes but is not limited to [its] use of

Alliance confidential information.” AC ¶100. Accordingly, as in Hanaw, the

tortious-interference claim should be dismissed as duplicative of the FUTSA claim

because it “is premised solely on the use of [Alliance’s] Proprietary Information.

Absent the wrongful conversion of plaintiff’s Proprietary Information, there is

nothing to suggest that the conversion and solicitation of [Alliance’s] customers is

tortious.” 2014 WL 12606501, at *6; see also, e.g., Measured Wealth Priv. Client

Grp., LLC v. Foster, 2020 WL 3963716, at *6 (S.D. Fla. July 13, 2020) (tortious-

interference claim preempted by FUTSA); RLI Ins. Co. v. Banks, 2015 WL 400540,

at *2 (N.D. Ga. Jan. 28, 2015) (Georgia Trade Secrets Act preempts breach of duty

of loyalty, conversion and breach of fiduciary duty claim); Mercer Glob. Advisors

Inc. v. Crowley, 2023 WL 2531727, at *10 (N.D. Ga. Mar. 15, 2023) (Georgia Trade

Secrets Act preempts claim for breach of duty of loyalty).

IV.   Alliance has failed to prove tortious interference.
      If the Court reaches the tortious-interference claim, it should grant summary

judgment for Laundrylux—not Alliance. See Dkt.157 at 34–40. The elements of

tortious interference are: (1) the existence of a business relationship that affords the

plaintiff existing or prospective legal rights; (2) defendant’s knowledge of the

business relationship; (3) defendant’s intentional and unjustified interference with




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the relationship; and (4) damage to the plaintiff. Ethan Allen, 647 So. 2d at 814.

Alliance has failed to muster sufficient evidence on any of these elements.

      A.    Alliance has failed to prove the requisite business relationship.

      A tortious-interference claim requires, at the outset, proof “an actual and

identifiable understanding or agreement which in all probability would have been

completed if the defendant had not interfered.” Ethan Allen, 647 So. 2d at 815. As

Laundrylux explained in its MSJ, Alliance has offered no such evidence. See

Dkt.157 at 34–37.

      Alliance’s MSJ only underscores the point. Alliance alleges that it




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156:7 (same).

      The law is crystal clear that “[a] mere offer to sell” does not “give rise to

sufficient legal rights to support a claim of intentional interference with a business

relationship.” Ethan Allen, 647 So. 2d at 814 (cleaned up); see also, e.g., B & D

Nutritional Ingredients, Inc. v. Unique Bio Ingredients, LLC, 758 F. App’x 785, 791

(11th Cir. 2018) (same); Duty Free Americas, Inc. v. Estee Lauder Cos., 797 F.3d

1248, 1279-80 (11th Cir. 2015) (same); MD Assocs. v. Friedman, 556 So. 2d 1158,

1159 (Fla. Dist. Ct. App. 1990) (same). Since Alliance has shown nothing but mere

offers to sell, it cannot prove it had sufficient legal rights in any of the three alleged

relationships to support a claim of tortious interference.

      Moreover, allegations that Alliance had “long-standing” relationships with

                                                      are irrelevant. Dkt.167 at 45–46.

Alliance’s “mere hope that some of its past customers [could] choose to buy again

cannot be the basis for a tortious interference claim.” Ethan Allen, 647 So. 2d at 815.

Alliance “may not recover … damages where the ‘relationship’ is based on

speculation regarding future sales to past customers,” which is all Alliance offers.

Id.; see also, e.g., Maxi-Taxi of Fla., Inc. v. Lee Cnty. Port Auth., 2008 WL 1925088,

at *16 (M.D. Fla. Apr. 29, 2008) (same), aff’d, 301 F. App’x 881 (11th Cir. 2008).

      Alliance’s failure to substantiate anything beyond a mere offer to sell is

dispositive. The Court need go no further to grant Laundrylux summary judgment



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on Alliance’s tortious-interference claim.

      B.     Alliance has failed to prove Laundrylux’s knowledge.

      Alliance has likewise failed to substantiate its claim that Laundrylux knew

about any “contractual relationships that afforded [Alliance] existing or prospective

legal rights.” NoNaNi Ent., LLC v. Live Nation Worldwide, Inc., 2022 WL

17539685, at *3 (M.D. Fla. Dec. 8, 2022).

      In its MSJ, Alliance says Laundrylux knew that (1) Adams was pursuing a

deal with                  and (2) Williams was pursuing a deal with                 ,

who had received a quote from Alliance. Dkt.167 at 45–46. But critically, Alliance

does not claim Laundrylux knew of any “actual and identifiable understanding”

between Alliance and                     that “in all probability would have been

completed if [Laundrylux] had not interfered.” Ethan Allen, 647 So. 2d at 815. Nor

could it, because there was no such “actual and identifiable understanding.” In the

absence of such an understanding, Laundrylux had every right to pursue customers

who had done business with Alliance in the past. See, e.g., Royal Typewriter Co., a

Div. of Litton Bus. Sys. v. Xerographic Supplies Corp., 719 F.2d 1092, 1105 (11th

Cir. 1983); Thomas, 664 So. 2d at 60 (collecting cases).

      C.     Alliance has failed to prove actionable interference.

      As Laundrylux has explained, it was entitled to compete for former Alliance

customers so long as it did not use improper means. See Dkt.157 at 38–40; Duty



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Free Ams., Inc., 797 F.3d at 1280; Restatement (Second) of Torts § 768 (Am. L.

Inst. 1979); Shenzhen Kinwong Elec. Co. v. Kukreja, 574 F. Supp. 3d 1191, 1214

(S.D. Fla. 2021). And Alliance has not shown that use of confidential information

would be an “improper method,” which alone warrants summary judgment. 11

       Even assuming use of confidential information would be an “improper

method,” Alliance has not shown that Laundrylux used Alliance’s confidential

information to compete for customers. Alliance’s MSJ, like its Amended Complaint,

focuses on allegations that Laundrylux used an Alliance quote to solicit business

from                 See Dkt.167 at 46. But as Laundrylux has explained, Alliance

shared quotes with customers without any restrictions; customers could share the

quotes with whomever they pleased. See Dkt.157 at 23–24. In this case,

asked Williams to send his quote to Adams at Laundrylux. Ex.54 181:15–183:13.

Accordingly, the         quote was not “confidential information.”

       Alliance has accordingly failed to establish Laundrylux’s unjustified and

wrongful interference with its business relationships.




       11
          Alliance cannot allege that trade-secret misappropriation is the “improper
method” because (1) Alliance has not proven trade-secret misappropriation, and (2)
the FUTSA preempts tort claims based on trade-secret misappropriation. See supra
at 10 –26, 27–28. FUTSA preemption applies even where information does not rise
to the level of a trade secret. Hanaw, 2014 WL 12606501, at *6.

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                               CONCLUSION
     Laundrylux asks the Court to deny Alliance’s motion for summary judgment

and grant Laundrylux summary judgment on all claims.



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                        WORD COUNT CERTIFICATION
      Defendants’ Memorandum of Law contains 7,997 words (including the text,

headings, footnotes, and quotations, but excluding the table of contents, table of

authorities, case caption, signature block, and certificate of service) and therefore

complies with the 8,000-word limit in Local Rule 7.1(F).




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                         CERTIFICATE OF SERVICE
      I hereby certify that Laundrylux’s motion for summary judgment and

accompanying documents were served on all counsel of record via email on March

14, 2025, sent via overnight mail to the Court on April 3, 2025.


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